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 5
      Attorney for Plaintiff,
 6    JEFFERY R. WERNER,

 7
                            UNITED STATES DISTRICT COURT
 8                         CENTRAL DISTRICT OF CALIFORNIA

 9 JEFFERY R. WERNER,                                Case No. ____________________

10                              Plaintiff,
                                                     COMPLAINT FOR DAMAGES AND
11                                                   INJUNCTIVE RELIEF FROM
      v.                                             COPYRIGHT INFRINGEMENT
12    EVOLVE MEDIA, LLC; and DOES 1-                 DEMAND FOR BENCH TRIAL
      25, inclusive,
13
                                Defendant.
14

15
     Plaintiff, Jeffrey R. Werner alleges as follows:
16
                                  JURISDICTION AND VENUE
17
           1.        This is a civil action seeking damages and injunction relief for
18
     copyright infringement under the Copyright Act of the United States, 17 U.S.C.
19
     § 101 et seq.
20
           2.        This Court has subject matter jurisdiction over Plaintiff’s claims
21

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 1 for copyright infringement pursuant to 28 U.S.C. § 1331 and 28 U.S.C. §

 2 1338(a).

 3        3.       This Court has personal jurisdiction over Defendant because

 4 Defendant conducts business and/or resides within the State of California,

 5 Defendant’s acts of infringement complained of herein occurred in the State of

 6 California, and Defendant caused injury to Plaintiff within the State of

 7 California.

 8        4.       Venue in this judicial district is proper under 28 U.S.C. § 1391(c)

 9 and 1400(a) in that this is the judicial district in which a substantial part of the

10 acts and omissions giving rise to the claims occurred. Alternatively, venue is

11 also proper pursuant to 28 U.S.C. § 1400(b) because the Defendant resides and

12 has a regular and established place of business in this judicial district.

13                                     PARTIES

14         5.      Plaintiff Jeffrey R. Werner (“Plaintiff” or “Werner”) resides in Los

15 Angeles, California and is a professional photographer by trade.

16         6.      Plaintiff is informed and believes, and thereon alleges, that

17 Defendant Evolve Media, LLC. (“Defendant” or “Evolve Media”) is a

18 corporation duly organized and existing under the laws of the State of California

19 with a principle place of business at 5140 Goldleaf Circle Suite 100-C Los

20 Angeles, CA, 90056.

21          7.     Defendant is the owner and operator of numerous commercial

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 1   websites        including      www.craveonline.com,        www.mandatory.com,

 2   www.webecosit.com, www.momtastic.com, and www.dogtime.com (“Defendant’s

 3   Websites”).

 4        8.       Plaintiff is unaware of the true names and capacities of the

 5 Defendants sued herein as DOES 1 through 25, inclusive, and for that reason,

 6 sues such Defendants under such fictitious names. Plaintiff is informed and

 7 believes and on that basis alleges that such fictitiously named Defendants are

 8 responsible in some manner for the occurrences herein alleged, and that

 9 Plaintiff’s damages as herein alleged were proximately caused by the conduct of

10 said Defendants. Plaintiff will seek to amend the complaint when the names and

11 capacities of such fictitiously named Defendants are ascertained. As alleged

12 herein, “Defendant” shall mean all named Defendants and all fictitiously named

13 Defendants.

14                           FACTUAL ALLEGATIONS

15                               Plaintiff Jeffrey Werner

16         9.      Werner has over 35 years experience as a professional photographer.

17   His work has appeared in publications such as Life, Time, Newsweek, People,

18   Marie Claire, FHM, Smithsonian, Playboy, Maxim, In Touch, Daily Mail,

19   Penthouse, and many others.

20         10.     Werner is primarily known for his specialty work in capturing video

21   and photographs of dangerous stunts, and is the only photographer inducted into

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 1   the Stuntworld Hall of Fame. His work has been featured on such television shows

 2   as That’s Incredible!, The World’s Greatest Stunts, Stuntmasters, Guinness World

 3   Record Spectaculars, Ripley’s Believe It Or Not, and I Dare You.

 4         11.    In addition to his stunt work, Werner is well known for his work with

 5   exotic animals, sideshow eccentricities, and people who have overcome incredible

 6   obstacles. The uniqueness of Werner’s portfolio has resulted in substantial

 7   licensing opportunities for his work, which he relies on to research and fund future

 8   shoots.

 9         12.    Werner is the president of the editorial syndication agency, Incredible

10   Features, Inc. (“Incredible Features”), through which Werner distributes and

11   syndicates his and other photographer’s works.

12         13.    Werner is the author and sole rights holder to a photograph of Wiley

13   the Coyote (“Wiley Coyote Image”) one of the only coyotes to ever be born in the

14   wild and fully domesticated. Werner registered the Wiley Coyote Image with the

15   United States Copyright Office, registration number VA 1-920-166.

16         14.    Werner      originally    licensed     Wiley     Coyote      Image     to

17   www.dailymail.co.uk via Barcroft Media, a sublicensing agent, for use in the UK

18   only for a story entitled “Man’s best friend: Wiley the coyote, the family pet who

19   likes to sit by the fire, goes for walks on a leash and plays fetch with a tennis ball”

20   which was published on January 14, 2014. See https://dailym.ai/2vuyOAe.

21         15.    Werner is the author and sole rights holder to a photograph of two

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 1   bison named “Wildthing” and Bullet” and their owner RC Bridges (“Buffalo

 2   Whisperer Image”), who keeps them as pets and allow them to live in their 2,400

 3   square foot home. Werner registered the Buffalo Whisperer Image with the United

 4   States Copyright Office, registration number VA 1-915-275.

 5         16.   Werner is the author and sole rights holder to a photograph of an

 6   alligator with a prosthetic tail named “Mr. Stubbs” (“Mr. Stubbs Image”). Werner

 7   registered the Mr. Stubbs Image with the United States Copyright Office,

 8   registration number VA 1-861-824.

 9         17.   Werner originally licensed Mr. Stubbs Image to www.dailymail.co.uk

10   via Barcroft Media, a sublicensing agent, for the UK only for a story entitled

11   “That’s why they call him Mr Stubbs: Alligator is first in the world to be fitted

12   with a prosthetic tail after losing his in a fight” which was published on March 10,

13   2013. See https://dailym.ai/2OpsNLT.

14         18.   Werner is the author and sole rights holder to a photograph of the

15   world’s tallest dog, named “Giant George” (“Giant George Image”), a great dane

16   standing at approximately 43 inches tall and weighing 245 pounds. Werner

17   registered the Mr. Stubbs Image with the United States Copyright Office,

18   registration number VA 1-861-824.

19         19.   Werner      originally    licensed    Giant     George     Image      to

20   www.dailymail.co.uk via Barcroft Media, a sublicensing agent, for the UK only

21   for a story entitled “Giant George the world’s tallest dog EVER who stood over 7ft

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 1   tall on his hind legs passes away at home” which was published on October 24,

 2   2013. See https://dailym.ai/2noTzIY.

 3         20.    The photographs reference above will be collectively referred to as

 4   the Images. True and correct copies of the Images are attached hereto as Exhibit A.

 5                             Defendant Evolve Media, LLC

 6         21.    Defendant Evolve Media is an integrated digital media company,

 7   owns and operates a portfolio over 40 lifestyle websites, including Defendant’s

 8   Websites,    which    boast    over    120    million   readers    a    month.    See

 9   http://www.evolvemediallc.com/#brands.

10         22.    Defendant is a sophisticated user of intellectual property and partners

11   with some of the largest brands in the world including Disney, Nintendo, Hasbro,

12   Coca-Cola, Target, Ford, Old Spice, and others to deliver targeted content to

13   consumers. See http://www.evolvemediallc.com/#clients.

14         23.    A portion of Defendant’s website portfolio, including Defendant’s

15   Websites, is administered through two wholly owned subsidiary entities,

16   CraveOnline LLC (“CraveOnline”) which produced content primarily targeted at

17   male millennial, and TotallyHer Media, LLC (“TotallyHer”), which produces

18   content primarily for women.

19         24.    On information and belief, Defendant licenses a large amount of

20   visual content on Defendant’s Websites from third-party sources, and is aware that

21   it is customary to obtain a license prior to utilizing third-party content to which it

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 1   does not have the rights.

 2                     Defendant Evolve Media’s Infringing Conduct

 3         25.    On or about March 23, 2017, Werner discovered that the Buffalo

 4   Whisperer    Image     and   Wiley    Coyote    Image    were    being    used   on

 5   www.craveonline.com, in and article titled “10 People with Incredibly Badass

 6   Pets;” that the Giant George Image was being used on www.dogtime.com in an

 7   article titled “Best Dog Pictures of 2013;” and that the Mr. Stubbs Image was used

 8   on www.momtastic.com in an article titled “Bionic Animals: 10 Creatures

 9   Thriving with Prosthetics” (“Infringing Articles”).

10         26.    The Mr. Stubbs Images as used in one of the Infringing Articles on

11   Defendant’s Website www.momtastic.com contained a visible watermark in the

12   bottom left corner with the text “© Incredible Features/ Barcroft M” indicating that

13   the Image had been licensed through Werner’s company Incredible Features and

14   Barcroft Media. However, neither Werner, Incredible Features, nor Barcroft had

15   ever been contacted for permission to use the Mr. Stubbs Image in the Infringing

16   Article on www.momtastic.com, nor does Werner have any record of having

17   licensed any of the Images for use on Defendant’s Websites.

18         27.    On or about May 16, 2017, International Intellectual Property, Inc.

19   (IIPI), a intellectual property licensing agency retained by Werner and Incredible

20   Features to purposes of identifying unauthorized use of Werner’s Images, sent

21   cease and desist letters to Defendant’s subsidiaries CraveOnline and TotallyHer,

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 1   directed to Defendant’s general counsel Josh Ellingwood (“Ellingwood”)

 2   explaining, inter alia, that the display of Werner’s Images on Defendant’s

 3   Websites was unauthorized and requesting that they be promptly removed.

 4   Attached hereto as Exhibit B are true and correct copies of the May 16, 2017 cease

 5   and desist letters sent to Defendant.

 6         28.    On or about May 17, 2017, the United States Postal Service (“USPS”)

 7   delivered the cease and desist letters at Defendant’s address to a person by the

 8   name of J. Ellingwood who signed a deliver confirmation slip confirming receipt.

 9   Attached hereto as Exhibit C is a true and correct copy of the signed USPS

10   delivery confirmation slip.

11         29.    After receipt of the letters, Defendant removed the Wiley Coyote and

12   Buffalo Whisperer Images, but did not remove the Mr. Stubbs and Giant George

13   Images from Defendant’s Websites.

14         30.    After waiting a week and verifying that the Images had not been

15   removed from Defendant’s Websites, IIPI sent a second consolidated cease and

16   desist letter to Ellingwood on or about May 23, 2017. A true and correct copy of

17   the May 23, 2017 cease and desist letter is attached hereto as Exhibit D.

18         31.    On or about May 24, 2017, the USPS delivered the second cease and

19   desist letter at Defendant’s address. Once again a person by the name of J.

20   Ellingwood signed a deliver confirmation slip confirming receipt of the letter.

21   Attached hereto as Exhibit E is a true and correct copy of the signed USPS

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 1   delivery confirmation slip.

 2         32.    After confirming that Defendant had received the second letter, IIPI

 3   verified that the Giant George and Mr. Stubbs Images had still not been removed

 4   from Defendant’s Websites.

 5         33.    On or about May 30, 2017, IIPI sent a third cease and desist letter to

 6   Ellingwood. Attached hereto as Exhibit F is a true and correct copy of the May 30,

 7   2017 cease and desist letter.

 8         34.    On or about May 30, 2017, the USPS delivered the cease and desist

 9   letters at Defendant’s address. Once again a person by the name of J. Ellingwood

10   signed a deliver confirmation slip confirming receipt of the letter. Attached hereto

11   as Exhibit G is a true and correct copy of the USPS delivery confirmation slip.

12         35.    On or about June 13, 2017, Ellingwood sent an email identifying

13   himself as General Counsel for Defendant and stating:

14         “I’ve been out of pocket for a couple of weeks but I see that there may be
           some copyright issues at webecosit.com and dogtime.com. I’d like to
15         address those globally with you. Do you have some time Thursday or Friday
           for a call? It would also be helpful if I could get a complete list of all images
16         for which your client(s) are claiming infringement. We’re a relatively small
           operation and as I mentioned, I’ve been out of pocket, so I want to make
17         sure everything made its way to my desk.”

18         36.    On or about June 16, 2017, Brian Wolff (“Wolff”) of IIPI spoke with

19   Ellingwood on the telephone to discuss the cease and desist letters and Defendant’s

20   continued infringing use of the Mr. Stubbs and Giant George Images on

21   Defendant’s Websites.

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  1         37.     During the conversation, Ellingwood reiterated that he had been out

  2   of town and was not aware of the letters until recently. When Wolff pointed out

  3   that he had signed USPS receipts confirming that Ellingwood had received the

  4   letters, and that some of the Images had been taken down after the letters were

  5   sent, Ellingwood became upset and hung up the phone.

  6         38.     As of the date of this complaint, the Mr. Stubbs and Giant George

  7   Images are still displayed on Defendant’s Websites and have not been removed.

  8   Attached hereto as Exhibit H are true and correct time stamped screenshots of

  9   Defendant’s     continued    infringing   use      of   Werner’s   Images;   see   also

 10   https://bit.ly/2OsIDWn;     https://bit.ly/2OsIQJ9;      https://bit.ly/2nqvTUL;   and

 11   https://bit.ly/2vT2rdO.

 12         39.     On information and belief, Defendant’s continued use of the Images

 13   after repeated notice is deliberate and willful.

 14                              FIRST CAUSE OF ACTION
                                COPYRIGHT INFRINGEMENT
 15                                 17 U.S.C. § 101 et seq

 16         40.     Plaintiff incorporates by reference all of the above paragraphs of this

 17   Complaint as though fully stated herein.

 18         41.     Plaintiff did not consent to, authorize, permit, or allow in any manner

 19   the said use of Plaintiff’s unique and original Images.

 20         42.     Plaintiff is informed and believes and thereon alleges that the

 21   Defendant willfully infringed upon Plaintiff’s copyrighted Images in violation of

          COMPLAINT FOR DAMAGES                  10
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  1   Title 17 of the U.S. Code, in that it used, published, communicated, benefited

  2   through, posted, publicized, and otherwise held out to the public for commercial

  3   benefit, the original and unique Images of the Plaintiff without Plaintiff’s consent

  4   by using them in the Infringing Articles on Defendant’s Websites.

  5         43.    Specifically, the Mr. Stubbs Image contained a watermark identifying

  6   the company authorized to license Plaintiff’s Images, however Plaintiff has no

  7   record of Defendant ever purchasing a license. Additionally, Defendant’s general

  8   counsel was repeatedly placed on notice of Defendant’s infringement, but

  9   Defendant has not removed all of the infringing copies of the Images identified by

 10   Plaintiff from Defendant’s Websites.

 11         44.    As a result of Defendant’s violations of Title 17 of the U.S. Code,

 12   Plaintiff is entitled to any actual damages and disgorgement of profits pursuant to

 13   17 U.S.C. §504(b), or statutory damages in an amount up to $150,000.00 per

 14   infringement pursuant to 17 U.S.C. § 504(c).

 15         45.    As a result of the Defendant’s violations of Title 17 of the U.S. Code,

 16   the court in its discretion may allow the recovery of full costs as well as reasonable

 17   attorney’s fees and costs pursuant to 17 U.S.C § 505 from Defendant.

 18         46.    Plaintiff is also entitled to injunctive relief to prevent or restrain

 19   infringement of his copyright pursuant to 17 U.S.C. § 502.

 20                                 PRAYER FOR RELIEF

 21   WHEREFORE, Plaintiff prays for judgment against Defendant as follows:

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 23
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  1         1.     For a finding that Defendant infringed Plaintiff’s copyright interest in

  2   the Images by copying and displaying them for commercial purposes without a

  3   license or consent;

  4         2.     For an award of actual damages and disgorgement of all of

  5   Defendant’s profits attributable to the infringement as provided by 17 U.S.C. § 504

  6   in an amount to be proven or, in the alternative, at Plaintiff’s election, an award for

  7   statutory damages against Defendant in an amount up to $150,000.00 for each

  8   infringement pursuant to 17 U.S.C. § 504(c), whichever is larger;

  9         3.     For an order pursuant to 17 U.S.C. § 502(a) enjoining Defendant from

 10   any infringing use of any of Plaintiff’s works;

 11         4.     For costs of litigation and reasonable attorney’s fees against

 12   Defendant pursuant to 17 U.S.C. § 505;

 13         5.     For pre judgment interest as permitted by law; and

 14         6.     For any other relief the Court deems just and proper.

 15

 16   Dated: August 16, 2018                         Respectfully submitted,

 17                                                  /s/ Mathew K. Higbee
                                                     Mathew K. Higbee, Esq.
 18                                                  Cal. Bar No. 241380
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 21                                                  Counsel for Plaintiff

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  1                            DEMAND FOR BENCH TRIAL

  2         Plaintiff, Jeffrey R. Werner hereby demands a bench trial in the above matter.

  3

  4   Dated: August 16, 2018                        Respectfully submitted,

  5                                                 /s/ Mathew K. Higbee
                                                    Mathew K. Higbee, Esq.
  6                                                 Cal. Bar No. 241380
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                                                    (714) 597-6559 facsimile
  9                                                 Counsel for Plaintiff

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